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                                                 IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                                          HOUSTON DIVISION

UNITED STATES OF AMERICA,                                         §
                                                                  §
                                Plaintiff/Respondent,             §
                                                                  §
VS.                                                               §   CRIMINAL NO. 07-93-1
                                                                  §
ERNESTO BALDERAS,                                                 §
                                                                  §
                                Defendant/Movant.                 §
                                                                  §
CIVIL ACTION H-010-268                                            §

                                                     MEMORANDUM AND OPINION

                Ernesto Balderas filed a motion under 28 U.S.C. § 2255, seeking to vacate his 2008

conviction and sentence. Balderas pleaded guilty to conspiracy to distribute cocaine and entered

into a written plea agreement. As part of the agreement, Balderas waived his appellate and

collateral-challenge rights. Balderas was sentenced to 262 months. He filed this motion to dismiss

under § 2255 in January 2010. The government responded by moving to dismiss or in the

alternative for summary judgment. (Docket Entry Nos. 476, 477, 478).1 Balderas filed a reply.

(Docket Entry No. 482). Based on the motion and response, the parties’ submissions, the record,

and the applicable law, this court denies Balderas’s motion for relief and, by separate order, enters

final judgment. The reasons are set out in detail below.




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   The government includes in its motions a request to expand the record to include defense counsel’s and
appellate counsel’s affidavit; that request is granted.
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I.              Background

                Count one of the six-count indictment charged Balderas with conspiracy to possess with

intent to distribute five kilograms or more of cocaine from August 2005 until March 2007. Count

four charged Balderas with conspiracy to commit money laundering during the same period; counts

five and six charged him with two specific instances of aiding and abetting money laundering.

Balderas was one of twelve defendants named in the indictment. His codefendants included other

members of his family, including his wife and his brother-in-law, Juan Sanchez.

                Balderas pleaded guilty to count one, conspiracy to distribute five kilograms or more of

cocaine. At the rearraignment, the court first established that Balderas and his counsel had reviewed

the indictment and the plea agreement and that Balderas was satisfied with the explanations he had

received and with the representation his lawyer had provided. The court also explained to Balderas

in detail the consequences of his plea. That explanation included the following exchange:

                                THE COURT: Under the statute the punishment for a conviction
                                under this count can go as high as life and cannot be less than ten
                                years. Do you understand that?

                                DEFENDANT BALDERAS: Yes.

                                MR. LOONEY: Your Honor, absent special circumstances being
                                found in the presentence report is what I told him –


                                THE COURT: Well, okay, better back up.

                                MR. LOONEY: I just didn’t want him to think that I had misled him.

                                THE COURT: Okay. Well, fair enough.

                                       There are circumstances in which a sentence of less than ten
                                years might result, but there’s no guarantee that that result is going
                                to apply to you. So, what you need to understand is that the statute
                                says that the range is a minimum ten, maximum life. Under some

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                                circumstances it can go below ten years, but there’s no guarantee that
                                those circumstances will apply to either of you. Do you understand
                                that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: There’s also a fine of up to $4 million. Do you
                                understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: Worst possible circumstances, life and a $4 million
                                fine. Okay?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: You understand that you are exposing yourself to
                                that by pleading guilty?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

(Docket Entry No. 397, pp. 16-17).

                The court specifically advised Balderas about the effect of the waiver of appellate and

collateral-challenge rights in his plea agreement:

                                THE COURT: . . . As part of your discussion of the plea agreements,
                                did you and your lawyers talk about how the sentence in your case
                                might be determined?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.




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                                THE COURT: You understand that what the Court has to do is —
                                that’s me, I have to go through a presentence report that’s prepared
                                after an investigation and determine what guideline sentence applies
                                and then determine where in the guideline range or where outside the
                                guideline range the sentence in each of your cases ought to be put.
                                Do you understand that I have to do that?

                                DEFENDANT BALDERAS:                In other words, you have the final
                                decision?

                                THE COURT: I have the final decision and the process that I use to
                                reach that decision is to calculate the guideline sentence and —
                                which will be a range usually, figure out what — and then figure out
                                if the sentence you get ought to be within the guidelines and if so,
                                where in the guideline range, or because the guidelines are only
                                advisory, to figure out if it ought to be outside the range and if so, for
                                how many years or months. Do you understand the process?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:                Yes.

                                THE COURT: And I tell you the process because you need to
                                understand that a lot of different pieces of information and a lot of
                                different factors go into figuring out what sentence applies. You
                                understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:                Yes.

                                THE COURT: And do you understand that today when you’re
                                figuring out whether or not to plead guilty, you don’t know what
                                sentence you’re going to get?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:                Yes.

                                THE COURT: You know what the statute says, ten years to life.

                                DEFENDANT BALDERAS: Yes.




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                                THE COURT: $4 million. You don’t know for sure what sentence
                                you’re going to receive. Do you understand that?

                                DEFENDANT BALDERAS: Correct.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: If it turns out that the sentence you get is heavier
                                than you expect, you are stuck. You can’t withdraw your plea, and
                                under this plea agreement you’re giving up the right to file an appeal
                                except on some very limited grounds, either a sentence that’s higher
                                than the statute — it’s hard to do when the sentence calls for a
                                maximum of life — or a sentence that’s higher than the guidelines
                                call for and the government hasn’t asked me to go higher than the
                                guidelines. As long as I sentence you within the statute or within the
                                guidelines or if the government asks me to go higher — and I don’t
                                think the government — have you obligated yourself not to make that
                                request?

                                MR. IMPERATO: I will not be asking for an upward departure.

                                THE COURT: Okay. As long as I sentence you within the
                                guidelines or within the statute, you’re stuck. You can’t get out of
                                your plea, you can’t file a later appeal, and you can’t file a habeas
                                petition or a later challenge. Do you understand that?

                                DEFENDANT BALDERAS: Yes.

(Id., pp. 19-22).

                The court also advised Balderas that the information used at sentencing was not limited to

the allegations in the indictment or what was proven beyond a reasonable doubt or admitted in court:

                                THE COURT: As I said earlier, I’m not limited to the information
                                that the government has about you today. There will be information
                                developed in the presentence investigation and if that is sufficiently
                                reliable and the law permits, I can rely on it even if you don’t admit
                                it’s true and even if you — even it’s not proven beyond a reasonable
                                doubt and in some circumstances that too can make your sentence
                                heavier. Do you understand that?

                                DEFENDANT BALDERAS: Yes.



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                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: And if that happens, unless I go above the statute or
                                the guidelines, you could not file an appeal or a later challenge. Do
                                you understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: Or withdraw your plea. Do you understand that?

                                DEFENDANT BALDERAS: Yes.

(Id., pp. 22-23).

                The court also advised Balderas that even with the plea agreement, the court was not

obligated to limit itself to the sentence the government sought but could impose a heavier sentence:

                                THE COURT: What you also need to understand, however, is that
                                I’m not obligated to follow the government’s recommendation. If I
                                disagree and think you should get a more severe sentence than would
                                result from what the government’s approach would result in, I can do
                                that. I don’t have to limit myself to the sentence the government
                                seeks. Do you understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:              Yes.

                                THE COURT: And what you also need to understand is that if I did
                                that and you ended up getting a heavier sentence than the government
                                asked for, that’s not an upward departure. You still couldn’t appeal,
                                because it would still be within the guidelines because I’m the one
                                who figures out the guidelines. Do you understand that?

                                                                ...

                                MR. LOONEY: Before we move past that issue, Your Honor –

                                THE COURT: Okay.




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                                MR. LOONEY: – what I’ve explained to my client is in this
                                document, the government agrees to cap their request at the three
                                point level, but we are free to argue for a lesser figure.

                                THE COURT: Yes. Yes. And as I said, I don’t have to do what the
                                government says. I can go lower or I can go higher. And what I need
                                you to understand is the worst possible scenario.

                                DEFENDANT BALDERAS: Yes.

                                THE COURT: The government has also said, and this is a similar
                                kind of thing, that it’s going to approach the guidelines by limiting
                                the amount of cocaine that you are held responsible for to 150
                                kilograms and a base offense level of 36. Okay? Do you understand
                                what the government is saying, that — and that’s guideline talk for
                                limiting your exposure to a certain amount. Do you understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:               Yes.

                                THE COURT: Again, same point I made earlier. I don’t have to
                                follow what the government does. I can under some circumstances,
                                depending on what the information shows, what the evidence shows,
                                I can go lower, because I think that that’s what the evidence supports.
                                If I go lower, your sentence would be reduced if it was a guideline
                                sentence. If I went higher, it would go the other way. Do you
                                understand?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:               Yes.

                                THE COURT: And, again, because what we’re talking about is how
                                you figure out the guidelines, you couldn’t file an appeal if I stayed
                                within the resulting guideline range. You couldn’t file a later
                                challenge. You couldn’t withdraw your plea. Do you understand
                                that?

                                DEFENDANT BALDERAS: Yes.

                                                                 ...




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                                MR. IMPERATO: Judge, just to be clear also, the government is
                                agreeing to a level 36. I want that to be stated on the record as well.

                                THE COURT: Right. And if I thought that instead it should be a
                                level 38, you would get a heavier sentence and it would still be a
                                guideline sentence, if I stayed within the guidelines. Do you
                                understand that?

                                DEFENDANT BALDERAS: Yes.

                                DEFENDANT SANCHEZ:               Yes.

(Id., pp. 25-28).

                Balderas stated that he understood and pleaded guilty to count 1 of the indictment. A

presentence report was subsequently prepared that detailed Balderas’s involvement in the cocaine-

distribution ring. The evidence included numerous intercepted telephone calls between Balderas

and other codefendants discussing delivery of 25 kilograms of cocaine; agents observing Balderas

and a codefendant receiving 25 kilograms of cocaine; and additional telephone calls revealing

payment of $345,000 for the cocaine. The evidence also showed subsequent intercepted telephone

conversations between Balderas and other defendants discussing the delivery of 68 kilograms of

cocaine, followed by payment of $995,000. Later interceptions of telephone calls and surveillance

resulted in the seizure of four kilograms of cocaine intended for delivery to Balderas. On August

20, 2007, Balderas was arrested. He cooperated and admitted involvement in the drug-trafficking

organization that had distributed multi-kilogram quantities of cocaine over an extended period.

                 The parties’ plea agreement included the government’s representation that it would not

oppose a three-level (as opposed to four-level) increase to the offense level based on an aggravating

role and would not oppose limiting the drug quantity for relevant-conduct purposes to less than 150

kilograms. The presentence report, however, stated that Balderas should receive a four-level



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increase to the offense level, appropriate for a leadership or organizational role in the offense as

opposed to a managerial or supervisory role. The presentence report also stated that Balderas should

be held responsible for over 150 kilograms. As a result, the offense level was 38 and sentencing

range was 262 to 327 months. Balderas’s counsel objected to the role in the offense increase,

arguing for a two-level instead of a four-level increase, and to holding Balderas accountable for

more than 150 kilograms.

                At the sentencing hearing, the government consistently argued that the increase to the offense

level for role should be a three-level increase, as specified in the parties’ plea agreement. The

following exchange occurred:

                                MR. LOONEY: In this particular instance, Your Honor, the role
                                assumes that Mr. Balderas and Mr. Sanchez were coequals. The
                                evidence doesn’t support that. It appears that Mr. Balderas was at
                                least a lesser equal, if not a subordinate. The contacts were not his,
                                the purchase contacts were not his, the sale contacts were not his. All
                                of that came from Mr. Sanchez. And if that alteration in the facts is
                                accepted the role would be two [a]s opposed to a three.

                                THE COURT: Did you want to respond in any way, or are you
                                restrained by your agreement?

                                MR. IMPERATO: I think I’m restrained. I just said we believe
                                three is more applicable. That’s all I would say. I think the plea
                                agreement precludes me from arguing anything more than that.

(Docket Entry No. 395, p. 4).

                The government similarly responded to the argument that the drug amount should be below

150 kilograms, as stated in the plea agreement:

                                MR. IMPERATO: We would again, Judge, stand by the plea
                                agreement and believe that 150 kilograms is the amount that the
                                defendant should be sentenced.

(Id., p. 5).

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                The court overruled the defense objection to the role in the offense because the PSR

established that he had an organizational and leadership role. The court was particularly troubled

by the argument that Sanchez had a higher or equal role to Balderas. In seeking a two-level as

opposed to a four-level increase, counsel for Balderas argued that the sellers and buyers were

Sanchez’s and that the recruitment of drivers was Sanchez’s responsibility. At this point, the

government, without arguing for more than a three-level increase, but in response to the defense

argument for a two-level increase, stated as follows:

                                MR. IMPERATO: Judge, I can’t argue anything more than what
                                I’ve said – stated already, but I just need to correct the facts. The
                                sources, while they may have been Mr. Sanchez’, the buyers and
                                transporters, that was under Mr. Balderas’ control. His nephew, the
                                calls, they all indicate that he was the one directing Aaron Hurtado
                                who to deliver to, and dealing with the buyers and collecting money
                                from them. So I don’t think that that’s correct.

                                MR. LOONEY: That wasn’t my argument, Your Honor. They came
                                to the ballpark by invitation of Mr. Sanchez. He did deal with them
                                directly.

                                THE COURT: What is your view, Mr. Imperato, to the extent you
                                are free to express it, given the constraints of the plea agreement,
                                what is your view as to the relative culpability of Mr. Sanchez and
                                Mr. Balderas?

                                MR. IMPERATO: I think they’re equal.

(Id., pp. 8-9).

                The court overruled the defense objections, finding that all the applicable guideline factors

weighed in favor of finding Balderas a leader and organizer, making a four-level increase proper.

(Id., p. 9).

                The court also overruled the defense objection to the drug amount, noting that there was no

objection to any of the paragraphs of the PSR that set out the cocaine transactions. The court found

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an ample basis in the PSR to hold Balderas responsible for conspiring to distribute more than 150

kilograms of cocaine. (Id., p. 7). The court sentenced Balderas to 262 months.

                Balderas’s appeal to the United States Fifth Circuit Court of Appeals was dismissed for want

of prosecution. He timely filed this motion for relief under 28 U.S.C. § 2255. Balderas asserts that

at sentencing, the government breached the plea agreement by failing to “stand mute” as to the role

Balderas played in the offense. Balderas argues that the waiver in his plea agreement is not effective

because he was not advised that he had a right to effective assistance of counsel and that the tainted

waiver may have made the guilty plea involuntary. He argues that counsel did not review the PSR

with him and told him not to tell the court that he had seen the PSR for the first time the day before

sentencing. The record includes the affidavits by defense counsel denying such an instruction to

Balderas and explaining that the drug amount in the PSR was not objected to because there was no

credible basis for an objection.

                The government argues that the record defeats each of Balderas’s claims. This court agrees.

II.             Analysis

                Balderas is proceeding pro se. Courts construe pro se litigants’ pleadings under a less

stringent standard than is applied to pleadings filed by attorneys. See Haines v. Kerner, 404 U.S.

519, 520 (1972); Bledsue v. Johnson, 188 F.3d 250, 255 (5th Cir. 1999). Pleadings filed by a pro

se litigant are liberally construed. See United States v. Pena, 122 F.3d 3, 4 (5th Cir. 1997) (citing

Nerren v. Livingston Police Dept., 86 F.3d 469, 472 & n.16 (5th Cir. 1996)).

                28 U.S.C. § 2255 provides in relevant part that:

                                [a] prisoner in custody under sentence of a court established by Act
                                of Congress claiming the right to be released upon the ground that the
                                sentence was imposed in violation of the Constitution or laws of the
                                United States, or that the court was without jurisdiction to impose

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                                such sentence, or that the sentence was in excess of the maximum
                                authorized by law, or is otherwise subject to collateral attack, may
                                move the court which imposed the sentence to vacate, set aside or
                                correct the sentence.

                “Section 2255 provides the primary means of collateral attack on a federal sentence. Relief

under this section is warranted for any error that occurred at or prior to sentencing.” Cox v. Warden,

Federal Detention Center, 911 F.2d 1111, 1113 (5th Cir. 1990) (internal quotations and citations

omitted). A section 2255 motion does not require an evidentiary hearing if the motion and the

record conclusively show that the prisoner is not entitled to relief. United States v. Bartholomew,

974 F.2d 39, 41 (5th Cir. 1992).

                A.              The Claim of Breach of the Plea Agreement

                The party alleging breach bears the burden of proving the underlying facts by a

preponderance of evidence. United States v. Wilder, 15 F.3d 1292, 1295 (5th Cir. 1994). In

determining whether the terms of a plea agreement have been violated, a court must determine

“whether the government’s conduct is consistent with what is reasonably understood by the

defendant when entering a plea of guilty.” United States v. Huddleston, 929 F.2d 1030, 1032 (5th

Cir. 1991). General principles of contract law are used to interpret the terms of a plea agreement.

United States v. Cantu, 185 F.3d 298, 304 (5th Cir. 1999). The sole measure of performance is the

agreement’s express terms. United States v. Cates, 952 F.2d 149, 153 (5th Cir. 1992).

                 The record defeats Balderas’s argument that the government breached the plea agreement.

Instead, the government repeatedly emphasized that it was not making any argument inconsistent

with its positions in the plea agreement that Balderas should be held to a three-level increase in the

offense level for role in the offense and held responsible for no more than 150 kilograms of cocaine.

In response to a specific statement by counsel for Balderas — seeking a two-level rather than a

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three- or four-level increase for role — comparing Balderas’s culpability to that of his codefendant,

Sanchez, the government stated that it could not argue more than the plea agreement allowed, but

that the factual statements made by defense counsel needed to be corrected. The court recognized

that the government’s statement was within, and consistent with, the constraints of the plea

agreement. The government did not argue for a role in the offense or an offense level higher than

it agreed to in the parties’ plea agreement. There was no breach of the plea agreement by the

government.

                 B.             The Claim that the Waiver Is Unenforceable Because There Was Ineffective
                                Assistance of Counsel

                The rearraignment transcript shows that the waiver of appeal was explained in detail.

Balderas stated in court, under oath, that he understood. A defendant can waive his right to file an

appeal or a § 2255 motion, although such a waiver might not apply to an ineffective assistance of

counsel claim. United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994). The record in this case

provides ample basis to conclude that the plea and waiver were knowing and voluntary and that the

issue challenged on appeal may properly be the subject of waiver. United States v. White, 307 F.3d

336, 339 (5th Cir. 2002). Because, as discussed below, there is no basis to find any ineffective

assistance of counsel, the guilty plea sustains the conviction and sentence and the waiver is

enforceable.

                To prevail on a claim of ineffective assistance of counsel, a petitioner must show that his

counsel’s actions fell below an objective standard of reasonableness and petitioner suffered

prejudice as a result. Strickland v. Washington, 466 U.S. 668 (1984); Martin v. Cain, 246 F.3d 471,

477 (5th Cir. 2001). The district court may dispose of a claim if counsel either rendered reasonably

effective assistance or no prejudice can be shown. A court evaluating a claim of ineffective

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assistance need not address the reasonableness component first. If a petitioner fails to make one of

the required showings, the court need not address the other. Strickland, 466 U.S. at 697.

                In assessing the reasonableness of counsel’s performance, the court must indulge a strong

presumption that the performance falls within the “wide range of reasonable professional assistance”

and that “the challenged action might be considered sound trial strategy.” Strickland, 466 U.S. at

689; Gray v. Lynn, 6 F.3d 265, 268 (5th Cir. 1993). If counsel’s action is based on well-informed

strategic decisions, it is “well within the range of practical choices not to be second-guessed.”

Rector v. Johnson, 120 F.3d 551, 564 (1997) (quoting Wilkerson v. Collins, 950 F.2d 1054, 1065

(5th Cir. 1992), cert. denied, 509 U.S. 921 (1993)).

                As to the prejudice portion of the inquiry, a convicted defendant “must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different. An attorney’s strategic choices based on information supplied by the

defendant and gathered from an investigation of the relevant law and facts “are virtually

unchallengeable.” Id. at 691.

                During the rearraignment, this court fully examined Balderas’s satisfaction with his counsel,

the absence of any need to ask his counsel more questions or get more advice from him, and that

Balderas fully understood the indictment and plea agreement because he and his lawyer had

reviewed them in detail. The record shows that the court fully admonished Balderas as to the

elements of the offense, the consequences of his plea, the rights he was giving up, the sentence he

faced, and the plea agreement — including the waiver of appeal and collateral challenge. Balderas

stated that he understood. Balderas admitted to the truth of the factual basis and the allegations in

the indictment. The court determined that Balderas was competent to plead guilty; that the record



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established all the elements of the offense; and that Balderas’s plea was voluntarily, freely, and

knowingly made.

                A federal court must uphold a guilty plea challenged in a habeas corpus proceeding if the

plea was knowing, voluntary, and intelligent. Hobbs v. Blackburn, 752 F.2d 1079, 1081 (5th Cir.),

cert. denied, 474 U.S. 838 (1985); Henderson v. Morgan, 426 U.S. 637, 645 n.13 (1976). The

critical issue in determining whether a plea was voluntary and intelligent is “whether the defendant

understood the nature and substance of the charges against him, and not necessarily whether he

understood their technical legal effect.” Taylor v. Whitley, 933 F.2d 325, 329 (5th Cir. 1991), cert.

denied, 503 U.S. 988 (1992). If the record shows that the defendant “understood the charge and its

consequences,” a court will uphold the plea as voluntary. Davis v. Butler, 825 F.2d 892, 893 (5th

Cir. 1987). The record fully supports finding Balderas’s plea to be voluntarily and knowingly made.

                Balderas has failed to show that counsel was deficient in advising him as to his rights to

effective counsel. In the context of a guilty plea, prejudice is present if there is reasonable

probability that absent counsel’s errors, the petitioner would not have entered a guilty plea and

would have insisted on a trial. United States v. Payne, 99 F.3d 1273, 1282 (5th Cir. 1996); Mangum

v. Hargett, 67 F.3d 80 (5th Cir. 1995), cert. denied, 516 U.S. 1133 (1996). A reasonable probability

is a probability sufficient to undermine confidence in the outcome. Strickland, 466 U.S. at 694.

Once a guilty plea has been entered, nonjurisdictional defects are waived, including all claims of

ineffective assistance of counsel except insofar as the alleged ineffectiveness relates to the

voluntariness of the guilty plea. Smith v. Estelle, 711 F.2d 677, 682 (5th Cir.), cert. denied sub nom.

Smith v. McKaskle, 466 U.S. 906 (1984). When a defendant has pleaded guilty, to satisfy the second

prong of the Strickland test, the defendant must show that “there is a reasonable probability that, but



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for counsel's errors, he would not have pleaded guilty and would have insisted on going to trial.”

Hill, 474 U.S. at 59; see also Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994). Balderas pleaded

guilty after a thorough instruction as to the consequences of his plea and the rights he was giving

up by pleading guilty. There is no basis to find a deficient performance or prejudice.

                C.              The Claim That Counsel Failed to Review the Presentence Report With
                                Balderas and Failed to Object to the Drug Amounts

                The record shows that at sentencing, contrary to Balderas’s allegations, defense counsel

stated — with Balderas present — that they had reviewed the PSR and the objections and addendum.

Balderas said nothing to dispute this statement, although he did address the court in allocution. This

is consistent with the affidavit statements of his counsel that are part of this record. There is no basis

to support Balderas’s allegations that he did not have time to review the PSR before the sentencing

or that his lawyer instructed him to mislead the court.

                Balderas also alleges that his lawyer failed to present objections to the drug amount during

the sentencing. The record shows that defense counsel did present objections to holding Balderas

responsible for more than 150 kilograms, which the court considered. The record precludes any

argument that counsel was deficient, or that Balderas was prejudiced, as a result of counsel’s failure

to object on the basis that the drug amounts were not admitted to by Balderas. Such an objection

would have been futile. There is no basis to conclude that there is a reasonable probability that had

an objection been made, the sentence would have been different. See United States v. Phillips, 210

F.3d 345, 350 (5th Cir. 2000); United States v. Grammas, 376 F.3d 433, 4388-39 (5th Cir. 2004).

                Balderas has failed to present a basis for the relief he seeks.




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III.            Conclusion

                The government’s motion for summary judgment, (Docket Entry Nos. 476, 477, 478), is

granted. The waiver in the plea agreement is enforceable; there is no basis to find ineffective

assistance of counsel or a breach of the plea agreement; and there is no Sixth Amendment violation.

Balderas’s Motion Under 28 U.S.C. § 2255, (Docket Entry No. 453), is denied. The corresponding

civil action is dismissed with prejudice. Balderas’s motions for counsel, (Docket Entry Nos. 408),

and motions to serve, (Docket Entry No. 469, 470, 471), are moot. The government’s motion for

extension (Docket Entry No. 457) and Balderas’s motion for an extension to file a reply (Docket

Entry No. 468), are moot.

                Under the AEDPA, a petitioner must obtain a certificate of appealability. 28 U.S.C.

§ 2253(c)(1). A certificate of appealability requires “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). The petitioner must demonstrate that “reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or wrong.”

Slack v. McDaniel, 529 U.S. 473, 484 (2000). A certificate of appealability is “a jurisdictional

prerequisite” for an appeal on the merits by a habeas petitioner. Miller-El v. Cockrell, 537 U.S. 322,

336 (2003). When considering a request for a COA, “[t]he question is the debatability of the

underlying constitutional claim, not the resolution of that debate.” Id. at 342. Because Balderas has

not made the necessary showing, this court will not issue a certificate of appealability.




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                Final judgment will issue by separate order.

                                SIGNED on June 4, 2010, at Houston, Texas.


                                                                ______________________________________
                                                                         Lee H. Rosenthal
                                                                   United States District Judge




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